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 7                               IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                          CASE NO. 1:20-CR-00238-JLT
10
                                  Plaintiff,
11
                            v.                                UNITED STATES’ RESPONSE TO
12                                                       DEFENDANT’S MOTION FOR EXTENSION OF
     KENNETH JOHNSON, and                                    TIME TO FILE NOTICE OF APPEAL
13   FRANCIS CLEMENT,

14                               Defendant.

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16          The Court should deny Kenneth Johnson’s and Francis Clement’s joint motion for extension of

17 time to file notice of appeal and deny their previously filed joint motion to compel. Here, the Court can
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18 rule on the papers. The motion to compel made no showing that the purported information defendants

19 seek falls within any of the government’s discovery obligations, even if that discovery existed, and the

20 government maintains that no such evidence exists. Moreover, the Court has already found that, even if

21 such information existed, the defense has not shown that it would be relevant.

22          More importantly, the defendants filed their motion only after acquiring the CDCR documents

23 they relied on to make their claim, by using an unlawful subpoena. The Court previously denied the

24 defendants’ Motion to Continue Sentencing Hearing, stating that the Court had issued no such subpoena.

25 The Court found also that the CDCR document’s discussion of possible threats against the defendants

26 was for the purpose of further investigation and that, in any event, any such threats would have occurred

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            1
            The government filed an opposition to the motion to compel on May 28, 2025, at ECF 1926,
28 and relies upon and adopts the arguments within that filing here.

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 1 after trial concluded, making them irrelevant both to sentencing and to the issue of a motion for a new

 2 trial. ECF No. 1896 at 2-3.

 3          For the same reasons, the Court should deny the defendants’ motion for extension of time to file

 4 notice of appeal, as the pending motion to compel will yield no further information and is not sufficient

 5 to allow an extension of time for defendants to file an appeal on their convictions.

 6          It is the government’s position that the Court also has the authority and all relevant information

 7 to rule on the motion to compel without a hearing, and thus, allowing counsel to file the notice of appeal

 8 in a timely manner.

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     Dated: June 3, 2025                                               MICHELE BECKWITH
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12
                                                                 By: /s/ Stephanie M. Stokman
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